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                          In The Matter Of

                 La Union Del Pueblo Entero, et al.,

                                Plaintiffs

                                    v

                         State Of Texas, et al.,

                              Defendants


                                 CASE

                              5:21-cv-844

                                  Date

                               4-27-2022

                                Witness


                      Jonathan Sherman White


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 1          IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF TEXAS
 2               SAN ANTONIO DIVISION
 3   LA UNION DEL PUEBLO         §
     ENTERO, ET AL.,         §
 4        Plaintiffs,   § Civil Action No.
                      § 5:21-cv-844 (XR)
 5   VS.                § (Consolidated Cases)
                      §
 6   STATE OF TEXAS, ET AL.     §
          Defendants.      §
 7   **************************************************
 8                 ORAL DEPOSITION OF
 9                JONATHAN SHERMAN WHITE
10                  APRIL 27, 2022
11

12   ******************************************************
13             ORAL DEPOSITION OF JONATHAN SHERMAN WHITE,
14   produced as a witness at the instance of the Plaintiffs
15   and Plaintiff-Intervenors, and duly sworn, was taken in
16   the above-styled and numbered cause on the 27th day of
17   April 2022, from 9:11 a.m. to 5:31 p.m., before Caroline
18   Chapman, CSR in and for the State of Texas, reported by
19   Computerized Stenotype Machine, Computer-Assisted
20   Transcription, held at the William P. Clements Jr. State
21   Office Building, 300 West 15th Street, Hearing Room
22   1001E, Austin, Texas, pursuant to the Federal Rules of
23   Civil Procedure.
24

25
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1      A.   I suppose that would be me.

       Q.   And what would be necessary for you to -- to

     make that approval?

               MR. HUDSON: Well, I'm going to object, to

     the extent that that would call for investigative

     privilege, attorney work-product or attorney-client

     communications. To the extent that you can answer

     generally without encroaching on any of those

     privileges, you're free to do so, but otherwise I'm

     going to instruct you not to answer.

       A.   I think primarily there would have to be a

     determination that a criminal statute -- a criminal

     statute was violated and that there is sufficient

     evidence to proceed.
15     Q.   And when you say there would be sufficient
16   evidence to proceed, is there a legal standard that
17   would be relevant in you determining whether to proceed
18   with a case?
19     A.   Probable cause, in Texas.
20     Q.   And how long have you been the Division Chief
21   of the Election Integrity Division?
22     A.   I don't recall when exactly it was popped out
23   as a standalone division, but it was prior to that. I
24   would say that's been in the last year or so, or less
25   than that. Prior to that, it was a section of the
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1      A.   I was involved to some degree with, primarily,
2    I believe some of the predecessor bills.
3      Q.   In what way were you involved with the drafting
4    of the predecessor bills of Senate Bill 1?
5      A.   In -- in being requested to provide guidance
6    regarding portions of those bills.
7      Q.   Which portions of the predecessor bills were
8    you asked to provide guidance on?
9              MR. HUDSON: Object to the extent that it
     calls for attorney-client privilege, attorney

     work-product, or legislative privileged information. To

     the extent that you can respond without encroaching on

     any of those privileges, you're free to do so,

     otherwise, I'm going to instruct you not to answer.

       A.   I don't know that I can answer that.
16     Q.   Have you been asked -- or were you -- excuse
17   me, were you asked to testify during any hearings on
18   Senate Bill 1 or any of its predecessor bills?
19     A.   I was called as a resource witness on some of
20   those hearings on the predecessor bills, and on SB 1, I
21   believe, actually, as well.
22     Q.   How many times were you asked to provide
23   testimony on Senate Bill 1 or its predecessor bills?
24     A.   As an estimate, I would say I was probably
25   asked to provide testimony or appear as a resource
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1   witness maybe 10 times. And I probably actually
2   testified maybe half of that.

       Q.    When you testified for -- excuse me --

    withdrawn.

                When you were called to testify, what were

    you asked to testify about?

                MR. HUDSON: I'm going to object to the

    extent that that would encroach on attorney-client or

    attorney work-product or legislative privilege. To the

    extent that you can answer, you can do so. Otherwise,

    I'll instruct you not to answer.

                And just for clarification of the record,

    is your question directed at what he was asked to

    testify about in public, or are you asking if there was

    a specific ask made by legislators? Because that would

    help me instruct him so that he can actually answer your

    question.

                MS. PAIKOWSKY: Of course.

       Q.    (By Ms. Paikowsky) I think for the moment we

    can limit it to what you were asked to testify in a

    public forum.

       A.    Wow. I -- I don't think I could even begin to

    cover all the questions that I was asked publicly. But

    generally it pertained to criminal provisions within the

    bills.
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1       Q.     Do you -- withdrawn. Which criminal provisions
2    within SB 1 or its predecessor bills were you asked to
3    provide testimony on?

                 MR. HUDSON: Same objections. To the

     extent that it's in the public record, you can answer;

     otherwise, I'm going to instruct you not to answer if

     it's going to encroach on attorney-client, attorney
8    work-product or legislative privilege.
9       A.     In the -- in the public committee hearings, I
10   don't recall specifically which criminal provisions
11   within the bills I was asked questions about, and a lot
12   of it really ran together.
13      Q.     Do you recall if you were asked to testify on
14   provisions to the voter assistant's oath in Senate
15   Bill 1?
16               MR. HUDSON: Same objection.
17      A.     I don't --
18               MR. HUDSON: Same objections. To the
19   extent that the question is inquiring about public
20   questions, you can answer; otherwise, I'm instructing
21   you not to answer unless you can avoid encroaching on
22   the attorney-client, attorney work-product or
23   legislative privileges.
24      A.     I don't recall being asked about the oath
25   provisions in Senate Bill 1. I do recall being asked
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1    that assistance being provide to the voter.

        Q.   How does your office interpret the mandates of

     this oath?

               MR. HUDSON: Object to the extent that it

     calls for attorney-client communications or attorney

     work-product or investigative privilege. To the extent

     that you can answer without encroaching on any of those

     privileges, you're free to do so; otherwise, I instruct

     you not to answer.
10     A.    I can testify as to how I would interpret the
11   oath. But could you repeat the last part of your
12   question, though?
13      Q.   How does your office interpret the mandates of
14   this oath? And to be clear, we're not looking for
15   details of any ongoing investigations, anything like
16   that, just your office's interpretation of this oath.
17     A.    Okay. Again, I can only speak to my
18   interpretation of the mandates of the oath, but -- do
19   you want to try to take them one by one or -- you know,
20   I would be tempted to say, you know, just exactly what's
21   written there. I don't -- I think it seems pretty
22   explanatory, but if you have a specific question about
23   any of those elements, I would be happy to weigh in.
24      Q.   So you would say that you understand the oath
25   to adhere strictly to the -- to the text as written
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1    within the statute?
2      A.    I think so, if I understand your question
3    correctly, yes.

        Q.   What kind of assistance is allowed under this

     oath?

               MR. HUDSON: Objection, form, foundation.

     Objection, form, calls for speculation. Objection to

     the extent that it calls for attorney-client, attorney

     work-product, or investigative privilege. To the extent

     you encroach upon any privilege, I instruct you not to

     answer; otherwise, you're free to do so.

       A.    I would say, according to the text of the

     statute, allowable assistance is reading the ballot to

     the voter, directing the voter to read the ballot,

     marking the voter's ballot, or directing the voter to

     mark the ballot, preparing the ballot per the directions

     of the voter.
18      Q.   Is there any kind of assistance that would not
19   be allowed under this oath?
20             MR. HUDSON: Same objection. Same
21   instruction.
22     A.    From my reading of the statute -- I mean, it --
23   what would be unlawful assistance would be marking the
24   ballot contrary to a voter's intentions, suggesting to
25   the voter how they should be voting, assisting an
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1      A.   That is my understanding.

       Q.   What kind of illegal behavior would this

     section of the oath be aimed at preventing?

                  MR. HUDSON: Objection, form. Asked and

     answered. Objection to the extent it encroaches on

     attorney-client, attorney work-product or investigative

     privilege, I instruct you not to answer. To the extent

     you can answer without encroaching on those privileges,

     you're free to do so.

       A.   I would say what I said before, which is,

     suggesting to the voter any -- in any way how they

     should vote, influencing them in the voting process, or
13   marking the ballot contrary to the voter's intentions
14   and their independent exercise of the vote.
15     Q.   I'm going to show you what is being marked as
16   Exhibit 3.
17                (Exhibit No. 3 marked.)
18     Q.   3, you can read for yourself, which I will
19   represent to you is the oath of assistants from before
20   Senate Bill 1. Again, I'll give you a moment to review.
21   Just let me know when you're finished.
22     A.   Okay.
23     Q.   Before Senate Bill 1, how was -- or withdrawn.
24                How was this oath, which is the oath
25   before Senate Bill 1, how was this oath used?
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          MR. HUDSON: Objection, form, vague.

Objection. To the extent it encroaches on attorney

client or attorney work-product, investigative

privilege, I instruct you not to answer. Otherwise,

you're free to answer.

  A.   This oath would have been administered in the

same way, at the polling place to an assistant for

providing assistance to a voter.

  Q.   Based on your understanding, is there any

activity that was permitted previously that is barred

under the new revised oath?

          MR. HUDSON: Objection, form, foundation.

Objection to the extent it encroaches on attorney

client, attorney work-product, investigative privilege,

or legislative privilege, instruct you not to answer.

To the extent you can answer without encroaching on

those privileges, you're free to do so.

  A.   Well, I would say that 64.034 never was a

criminal statute, it never created an offense, but what

it did is it caused the assistant at the polling place

to be advised of what activity they can and cannot

engage in and require them to, you know, take an oath to

that effect. What was added in the, I guess, SB 1

version was behavior that, like the existing version,

was already, I believe, prohibited by other parts of the
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     Election Code which might have been criminal provisions,

     and those pieces would be -- would pertain to

     eligibility of the voter for assistance and whether the

     voter had been pressured or coerced into receiving

     assistance, as well as communicating information about

     the voter's vote to another person. Those are all

     prohibited under other sections of the Election Code,

     but they were not included in the previous oath.
9      Q.   And so looking at the text of the old oath,
10   starting with "I will confine my assistance to answering
11   the voter's questions, stating propositions on the
12   ballot, naming candidates." Do you believe that
13   answering questions are allowed under the revised text
14   of the oath?
15             MR. HUDSON: Objection to the extent that
16   that would call for attorney-client privilege, attorney
17   work-product, or investigative privileged information.
18   To the extent you can answer without encroaching on
19   those privileges, you're free to do so, otherwise, I
20   would instruct you not to answer.
21     A.   I think I can answer that question. Could you
22   repeat it, though, for me?
23     Q.   Yeah, of course. So let's see. Do you believe
24   that the revised text of the oath would prevent an
25   assister who was providing otherwise lawful assistance
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1    assistance that were, you know, guaranteed under federal
2    or state law were prohibited by another part of the
3    Election Code.
4       Q.   Would your office have concerns if it received
5    a report of an assister who was providing otherwise
6    lawful assistance, clarified the translation of ballot
7    language after receiving a question from a limited
8    English proficiency voter who didn't understand the
9    first translation?
10             MR. HUDSON: Objection, form, foundation.
11   Objection, form, incomplete hypothetical.
12      A.   I can only speak for myself. And if I
13   understand the question correctly, I would not have a
14   problem with a clarifying question being asked about
15   lawful assistance, or answered, I guess.

        Q.   Do you believe that the revised oath would

     allow an assister to provide that kind of clarifying

     information or answer a clarifying question about a

     translation?

               MR. HUDSON: Objection, form. Calls for

     attorney-client privilege, attorney work-product, or

     investigative privilege. To the extent you can answer

     that without encroaching on those, feel free to do so.

        A.   I would personally not interpret the law,

     although I see the section that you're referring to, I
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1    see that language, I would -- I would not -- in my
2    practice of enforcing the code, I would not interpret
3    this as prohibiting that type of interaction involving
4    lawful assistance activities.
5      Q.   Could you -- or withdrawn.
6              Do you believe that -- but you do believe
7    that that is an interpretation that someone could make
8    reading the oath?
9      A.   I guess it's really hard for me to determine
10   how any reasonable or unreasonable person might
11   interpret the language of this oath.
12     Q.   But you could see a situation where someone who
13   reads the text, "I'll confine my assistance to reading
14   the ballot to the voter, directing the voter to read the
15   ballot, marking the voter's ballot, or directing the
16   voter to mark the ballot," could understand that
17   providing translation clarifications might fall outside
18   of the confines of permitted activity?
19             MR. HUDSON: Objection, form. Foundation.
20   Incomplete hypothetical, speculation.
21     A.   I guess I don't think that that would be the
22   most reasonable interpretation of this provision, but I
23   can see how someone could unreasonably or less
24   reasonably construe that one language in isolation of
25   the rest of the oath and take it very narrowly and come
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 1   I can't think of a situation that would kind of help me
 2   put it into context where a word on the ballot would
 3   need to be defined for a voter.
 4      Q.   But you would only be concerned with that
 5   activity insofar as it violated a different section of
 6   the oath, which is to say, it indicated how a voter
 7   should vote?
 8     A.    Correct, yes. I can't think of another section
 9   that it would potentially violate, that would be the one
10   that would come to mind as a concern.

        Q.   Would your office have concerns if a voter with

     a memory or cognitive impairment asked an assister who

     had worked with them in advance to prepare to go vote

     for a reminder as to what they had discussed previously
15   and the assister faithfully recounted that conversation?
               MR. HUDSON: Objection, form, foundation.

     Objection, incomplete hypothetical. Object to the

     extent it would encroach on attorney-client, attorney

     work-product, investigative privilege. To the extent

     you can answer without encroaching on those privileges,

     you're free to do so.
22     A.    That's a tough question. There's another
23   section of the code that prevents in the polling place
24   any communication regarding how a voter should vote, and
25   I have never looked at that specifically in the
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disability contest -- context. But, you know, but if

I -- if I'm voting with my wife and she's in the -- the

voting booth next to me, I can't tell her, "Hey,

remember that race we talked about before, you know,

it's -- you know, the one with the two guys with the

same last name, it was this other one that" -- I can't

do that, and I know I can't do that, or it's like a

Class B misdemeanor or Class A misdemeanor. So I don't

know. That's a good question.

  Q.   Do you believe that activity -- excuse me. Do

you believe that activity of providing somebody with

memory or cognitive impairments with a reminder or

prompt of a past conversation would fall outside of the

permissible activities in the revised oath?

          MR. HUDSON: Objection, form, foundation.

Objection, incomplete hypothetical. Same objection and

instruction as to attorney-client, attorney

work-product, investigative privilege. To the extent

you can answer without encroaching, you're free to do

so. Otherwise, I'm going to instruct you not to answer.

  A.   I mean, it's potentially violative of the

language. "I will not suggest by word, sign or gesture

how the voter should vote," which has been in the oath

and it's been in Section 64.036 of the code, the

unlawful assistance provision, for as long as I can
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1    remember. And so that's an interesting question. I
2    think it would potentially violate -- you would have to
3    look at it and determine whether it violates a number of
4    sections of the code that have existed for many years.
5      Q.   So to be clear, your concerns about that kind
6    of activity would be whether it violates a separate part
7    of this oath or existing parts of the criminal code, in
8    that it is instructing a voter to vote rather than
9    providing the voter with information that they're
10   requesting?
11     A.   Correct. I think that's how I would look at it
12   primarily, yes.
13     Q.   To determine whether or not that was
14   permissible activity?
15     A.   Right. Whether they had suggested how the
16   voter should vote or influenced the vote of the voter
17   during the voting process.

       Q.   Uh-huh. Would your office have concerns if an

     assister who was providing otherwise lawful assistance

     answered the voter who had visual impairments request

     for confirmation that the ballot was marked as intended?

               MR. HUDSON: Objection, form, foundation.

     Objection, incomplete hypothetical. Objection to the

     extent it would encroach on attorney-client, attorney

     work-product, or investigative privilege. To the extent
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     you can answer without encroaching on those privileges,

     you're free to do so. Otherwise, I'll instruct you not

     to answer.

       A.   I would not have any concerns about that. In

     fact, a portion of the oath is, "I will prepare the

     voter's ballot as the voter directs," so I think

     confirming that to the voter would not be violative of

     the oath or any other portion of the Election Code that

     I'm aware of.
10     Q.   Do you consult with the Secretary of State's
11   Office in determining how to interpret these provisions
12   of the law?
13     A.   Provisions in general, or specifically the
14   provision that we've been talking about?
15     Q.   Let's start with provisions in general.
16     A.   If there's an area of the code that the
17   situation, you know, warrants it, I might discuss with
18   the Secretary of State's Office what their
19   interpretation of the code is. Under Section 31.003 of
20   the code, the Secretary of State is tasked with the
21   interpretation and the uniform application of the code,
22   so that is their proper role, and I would, under the
23   right circumstances, probably do that.
24     Q.   And what would those circumstances be?
25     A.   Just if -- if there's enough question about how
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1    a section should be interpreted, or if, for example,
2    we -- there's a provision in the code that -- I think
3    it's voting day procedures apply to early voting, if
4    possible. In other words, there are some things about
5    early voting that make it different from election day
6    where that's not possible, and so when there's a
7    conflict, that has to be resolved in an interpretive
8    way, and the Secretary of State would certainly be the
9    go to for that since they're responsible for the
10   administration of elections, or at least the
11   interpretation of how elections should be administered.
12   So we would go to them on something like that.

       Q.   So if you had questions about one of the kinds

     of hypotheticals I mentioned, an assister answers a

     voter's question --

               THE REPORTER: We just lost everyone.

               MR. DELLHEIM: Should we go off the record

     for a second?

               (Brief recess.)

               MR. HUDSON: This is Eric Hudson on behalf

     of the Office of Attorney General. During the break,

     counsel discussed entering a stipulation on the record.

     The stipulation, as I understand it, I'll allow counsel

     to speak for themselves, is that my client is instructed

     to avoid -- for the purposes of avoiding duplicative
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     objections or lengthy objections, we're stipulating on

     the record that my client is instructed not to provide

     any answers that would encroach on attorney client,

     attorney work-product, legislative or investigative

     privileges, or any other applicable privilege, including

     deliberative process or any others that would be -- that

     could conceivably be implicated by the questions.

               Do you understand that instruction,

     Jonathan?

       A.   Yes.

               MR. HUDSON: Okay. And I understand that

     all counsel are going to stipulate to that?

               MS. PAIKOWSKY: Yes.

               MR. HUDSON: Okay.

               MS. PERALES: If I might -- am I

     stipulating to your instruction to the witness?

               MR. HUDSON: Stipulating that the -- I'm

     not going to have to continue making the objection;

     basically that we have a running objection.

               MS. PERALES: Yes. We can stipulate to

     that, to the extent that it applies, yes.
22             MR. HUDSON: Sure. We also understand,
23   though, by way of the stipulation, if my client has any
24   questions about whether there's any kind of privileged
25   information that he needs guidance on, we can still go
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1      A.    Not for me to tell you today.

        Q.   Does the way that you charge these cases change

     if the voter was eligible for assistance?

               MR. HUDSON: I'm going remind you of the

     ongoing -- the running objection, specifically to the

     parties concerning attorney work product,

     attorney-client privilege, investigative privilege.

       A.    I think -- yeah, I think that that would

     probably involve our internal thought processes about
10   how we might charge a case depending on specific
11   factors, so I might not be able to answer that.
12      Q.   In the statutes is there -- are there criminal
13   violations that are specific to people providing -- or
14   withdrawn.
15             Is there a way in the statutes to
16   distinguish between unlawful assistance, meaning
17   assistance that is provided to voters who are not
18   entitled to it, and unlawful assistance that is
19   influencing a voter who is entitled to and seeks
20   assistance?
21     A.    It's a violation under a different subsection
22   of Chapter 64.036. But I don't know that we get into
23   that much detail on the spreadsheet. My recollection
24   would be that we typically, or we charged more cases,
25   and the lion's share of these would have been unlawful
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1      A.    Obviously the same provisions are there. I
2    think the same applicable provisions are there, but, I
3    mean, other than that, the only thing that could
4    potentially be applicable is the provision -- that I'm
5    seeing right now is the provision that you mentioned
6    earlier, which is confining assistance to reading the
7    ballot to the voter, directing the voter to read the
8    ballot, marking the voter's ballot or directing the
9    voter to mark the ballot, although I guess you could
10   say, literally if you take a look at that, then if they
11   marked the voter's ballot, even if the voter didn't
12   direct them to do so, that was allowable by this new
13   oath, so I don't know.

        Q.   So is it fair to say that you think -- in your

     opinion, both oaths don't have specific provisions that

     get at this activity?

               MR. HUDSON: I'll remind you of the

     running objection that has been stipulated to by the

     counsel present.

       A.    Yeah. I think both -- both those contain

     language that potentially certainly could be applicable

     to the activity, and under a different interpretation

     perhaps neither one have something that's 100 percent on

     point. The only thing I would add to that is that we've

     never prosecuted based on an oath. The oath is
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     informative to the assistant of allowable behavior and

     prohibited behavior, particularly prohibited behavior,

     and hopefully also instructive to the voter of what the

     assistant should and should not be doing.

              It's the underlying offenses in the

     Election Code that we would look at.
7      Q.   So do you believe that an assister who reads,
8    you know, the text of this oath, "I will confine my
9    assistance to reading the ballot to the voter, directing
10   the voter to read the ballot, marking the voter's
11   ballot, and directing the voter to mark the ballot,"
12   would govern the assister's behavior?
13             MR. HUDSON: Objection, form, foundation.
14   Objection, form, incomplete hypothetical.
15     A.   Only in the most practical sense, because a
16   person's understanding is going to govern their
17   behavior. Again, I'm, you know, answering a
18   hypothetical. I think in an objective sense, obviously
19   the law says what it says.
20     Q.   Could a voter who reads this assistance -- or,
21   sorry, an assister who reads this oath understand it to
22   sort of strictly govern their permissible behaviors?
23             MR. HUDSON: Objection, form, foundation.
24   Objection, form, speculation. Objection, form,
25   incomplete hypothetical.
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1    situations where voters were -- voters may have been
2    approached and pressured into receiving assistance
3    outside of a polling place or even with regards to mail
4    ballots, and we did not have an adequate statute to
5    address that interaction at that time. However, I do
6    believe there was a -- possibly an amendment made to
7    Chapter 64.036 that helped in that area, possibly with
8    SB 5 in the special session of the 85th Legislature that
9    helped in that regard, so these may have been older
10   cases.
11     Q.     So was that in 2017?
12     A.     Uh-huh. Yes, ma'am.

       Q.     And of all of the cases that you have pointed

     out to me today, which of these, if any, to your

     knowledge took place in person at a polling place?

       A.     The case that certainly didn't involve mail

     ballots, and it was the violation of Chapter 61.008,

     would have happened at a polling place for sure, and

     I -- I don't recall specifically any others. I'm not

     saying there weren't any, but I don't recall

     specifically any others that happened at a polling place

     that I can tell just based on these notes and without

     refreshing my recollection.

       Q.     Sorry. One moment.

                MS. PERALES: And just so I'm not lost,
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     you're talking about Patricia Barton in Medina County on

     Page 7?

                THE WITNESS: That's the one that jumps

     out to memory, yes, ma'am.

       Q.     (By Ms. Paikowsky) So based on your knowledge

     today, other than that one case, none of those cases

     listed in the exhibit took place in person at a polling

     place?

       A.     I'm not recalling any from my memory, so I

     would agree to that, to avoid having to look through

     each one of them again, but that's my recollection.

       Q.     And the Patricia Barton case, that one you

     noted did not involve assistance?

       A.     I don't believe it did involve assistance, no.
15     Q.     And all of the cases that we discussed involved
16   violations of existing statutes that predated SB 1?
17     A.     Correct, which are still in place today.
18     Q.     They're still in place today. Thank you.
19              Just one minute. Okay. So I'm going to
20   move on to the mail -- the mail ballot identification
21   provisions of Senate Bill 1. So first of all, do you
22   believe that all eligible voters who want to participate
23   in an election should be able to cast a ballot and have
24   their ballot counted?
25     A.     Yes.
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1       Q.   So I'm going to show you a document that we're
2    going to mark as Exhibit -- that we're going to mark as
3    Exhibit -- what are we on? 4?
4              MR. HUDSON: Yes.
5              (Exhibit No. 4 marked.)
6       Q.   Can you look at Section A3 or, sorry, A4, and
7    tell me what that -- what that provision means?
8              MR. HUDSON: I'll just remind you of the
9    running objection concerning privileges.

       A.    So this is a -- it says it's a new provision.

     A person commits an offense if a person knowingly or

     intentionally makes any effort to prevent a voter from

     casting a legal ballot in an election in which the voter

     is eligible to vote.

               I'm not sure how to interpret that, aside

     from its statutory language, but I would be happy to

     answer any specific questions you have about it.

        Q.   Do you believe that this law furthers the

     interest of election integrity?

               MR. HUDSON: Same objections, including

     the running objections.

       A.    I -- I imagine that is the intent.
23      Q.   In what way do you think this law would further
24   the interests of election integrity?
25     A.    I think it's designed -- it seems designed to
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1    information to continue the process. That's not to say
2    that a harvesting crew that's well connected with a good
3    database couldn't obtain some of those numbers, but it
4    would be more difficult and it would be above the
5    sophistication level of a lot of harvesting crews that
6    we've dealt with.
7      Q.   Okay. And so we talked about vote harvesting.
8    Are there different types of vote harvesting crimes?
9      A.   There are a handful of specific offenses in the
10   Election Code that are invoked kind of in the vote
11   harvesting activity.
12     Q.   And is vote harvesting illegal at all stages of
13   the voting process?
14     A.   It really kind of depends on how you define
15   vote harvesting.

       Q.   Would you mind clarifying for me the different

     types of vote harvesting crimes that could be deterred

     by the -- by SB1's new mail ballot ID requirement?

               MR. HUDSON: Remind you of the running

     objections.

       A.   Starting at the beginning with vote harvesting,

     you have a seeding phase or an application phase that

     focuses on applications for mail ballots, and fraudulent

     submission of mail ballots on behalf of a voter could be

     hampered by the requirement to include a piece of
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     identifying information, or an identifier such as a DL

     or the last four of the social. That could be an

     obstacle to a vote harvesting crew that wishes to bypass

     the voter.

                And then, as I already stated, it could

     also be an obstacle to gaining the voter's compliance,

     because here's a stranger asking for my DL number so

     that they can complete these documents on my behalf or

     submit this, you know, carrier envelope on my behalf, so

     it -- by putting the control of the interaction more in

     the voter's hands because those are -- those are numbers

     that the voter has access to that the harvester is less

     likely to have access to, I think it promotes security

     in that fashion.
15     Q.     So if I, moving forward, refer to the activity
16   you described of collecting as many absentee ballots and
17   collecting and submitting ballots by mail as illegal
18   vote harvesting, will you understand what I'm referring
19   to?
20     A.     Sure. And if for some reason that definition
21   needs clarifying, then I'll bring it up at that time.
22     Q.     You mentioned that SB1's mail ballot
23   identification requirements would be more effective in
24   preventing some vote harvesting more so than others.
25   Are there instances you can think of where SB1's mail
         Case 5:21-cv-00844-XR Document 747-12 Filed 09/01/23 Page 28 of 46




1    or have the voter fill out their own identification
2    number?
3      A.    That's right. Absolutely.
4              MS. PAIKOWSKY: If it's okay, can I take a
5    five-minute break?
 6      A. Sure.
 7               MR. HUDSON: No objection.
 8               (Lunch recess.)
 9      Q.   (By Ms. Paikowsky) Mr. White, I'm going to go

     back to asking questions about SB1's mail ballot

     identification provisions. Without SB1's mail ballot

     identification provisions, would your office have other

     means of detecting vote harvesting?

               MR. HUDSON: Object to the extent that

     that would encroach on investigator privilege, and

     remind you of the stipulation concerning the running

     objection. Just instruct the witness, to the extent

     that that would encroach on methods of investigation or

     practices, I'll instruct you not to answer.

       A.    Yeah. Without going into our mental

     impressions and our investigative practices, I guess I

     could say we have prosecuted vote harvesting cases in

     the past.
24     Q.    And this, again, is not seeking specific
25   information about any investigation, but do you have --
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1    interpreting the statute?
2               HUDSON: Objection, form, foundation.
3    Calls for speculation. Incomplete hypothetical.
4      A.   Yeah, I don't know if I could -- if I could
5    answer how a county might or might not interpret or
6    enforce the statute.
7      Q.   Do you think counties might vary in their
8    interpretation of Paragraph G, refusal to accept a
9    watcher?
10              MR. HUDSON: Same objections.
11     A.   I don't know.
12     Q.   You do deal with local prosecutors in your
13   current work; is that correct?
14     A.   Yes, ma'am.
15     Q.   Has it ever been your experience that local
16   prosecutors have varied interpretations of the same
17   language within the Texas Election Code?
18     A.   I have experienced that before.

       Q.   Have you ever advised a local prosecutor that

     something the prosecutor thought was unlawful was not

     unlawful in your view?

       A.   I don't --

                MR. HUDSON: I would remind you of the

     running objection that the parties have stipulated to.

     Otherwise, you're free to answer.
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1      A.     Yeah. I probably couldn't go into those types
2    of communications, but I don't recall specific
3    situations.
4      Q.     Do you have an attorney-client relationship
5    with local prosecutors?
6      A.     If they approach me in an advisory capacity,
7    depending on the situation, I could, but I don't have
8    a -- like a freestanding relationship.
9      Q.     Let me ask the question slightly differently.
10   Have you ever stepped in to prosecute an election
11   offense when the local county prosecutor declined to do
12   so?
13     A.     I don't have a specific recollection of any
14   time that we have prosecuted a offense where we have had
15   a conversation with a District Attorney who has taken
16   that position.
17      Q.    Now, prior to December --
18      A. Uh-huh.
19      Q.    -- it was true, then, that sometimes your
20   office would secure an indictment of a defendant for
21   election fraud without working in cooperation with the
22   local prosecutor; is that right?
23     A.     Without working directly with that office,
24   that's correct, we could do that.
25     Q.     And so I believe you had testified previously
         Case 5:21-cv-00844-XR Document 747-12 Filed 09/01/23 Page 31 of 46




1              MR. HUDSON: Objection, form, foundation.
2    Objection, calls for speculation.
3      A.   I don't know what that -- that action would be.
4    Could be anything, I suppose.
5      Q.   Okay. Do you know what action would be to
6    distance the watcher from the activity or procedure?
7              MR. HUDSON: Same objections.
8      A.   I don't. I don't have a list of examples of
9    that off the top of my head, no, ma'am.
10     Q.   Do you know what would -- do you know what
11   would constitute a manner that would make observation
12   not reasonably effective?
13             MR. HUDSON: Same objections.
14     A.   No. We would -- we would take a set of facts
15   that we were given in a complaint and then we would try
16   to apply the law, and I don't typically work in reverse.
17     Q.   Have you developed any standards at this point
18   for deciding what would be an action that would obstruct
19   the view of a watcher?
20     A.   No, ma'am.

       Q.   Have you developed any standards that would

     allow you to decide whether a poll official had

     distanced the watcher from the activity?

               MR. HUDSON: I'll just remind you of the

     running objection that we have concerning privileges,
         Case 5:21-cv-00844-XR Document 747-12 Filed 09/01/23 Page 32 of 46




     and also note the deliberative process privilege is one

     of those.
3                THE REPORTER: I'm sorry, I couldn't hear
4    you.

                 MR. HUDSON: Deliberative process

     privilege is also one of those. Instruct you not to

     answer to the extent you would be encroaching on any

     privileges.

       A.     I'll follow that advice.
10      Q.    Do you have a distance -- let's just talk about
11   the voting machine. Do you vote here in Travis County?
12     A.     No, ma'am.
13      Q.    Tell me about the -- tell me about the voting
14   apparatus in the county where you do vote.
15     A.     Just a typical hard voting system, prints a
16   paper ballot and you scan it in at the door on your way
17   out.
18      Q.    So it's a DRE. You use a touchscreen; is that
19   right?
20     A.     You use a -- I can't remember if it's a
21   touchscreen or if it's --
22      Q.    It's a wheel?
23     A.     I can't remember if it's still a wheel, but
24   you -- it will print the ballot for you after you've
25   entered it electronically. And then you turn it in or
         Case 5:21-cv-00844-XR Document 747-12 Filed 09/01/23 Page 33 of 46




1    scan it at the door on your way out.
2       Q.   Okay. So generally you vote on a machine that
3    has a screen and it's sitting on a little table with
4    some long legs on it; is that right?
5      A.    Yes, ma'am.
6       Q.   Okay. And then you're going to take the piece
7    of paper that it gives you, and you're going to walk
8    over to that receptacle and put your piece of paper in
9    there; is that right?
10     A.    Yes, ma'am. Place it in the receptacle.
11      Q.   Okay. Sometimes called a tabulator. Okay. So
12   let's take the instance of a voter who is standing at
13   one of those voting machines like the kind that you vote
14   on, Mr. White. How close -- let me ask the question
15   this way. How far could a watcher be placed by the
16   election judge such that it would violate Section
17   4.09(a) in SB 1?
18             MR. HUDSON: Objection. Incomplete
19   hypothetical. Objection, calls for speculation.
20     A.    I don't think I could answer that.
21      Q.   Is it because you don't know?
22     A.    I couldn't --
23             MR. HUDSON: Objection, calls for an
24   incomplete hypothetical. Calls for speculation.
25     A.    Yeah. I don't have enough facts to -- to
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answer that question. And even if I did have enough

facts, it would probably involve me going into my

thought processes about -- about the offense, and so I

don't think I could answer that.

  Q.   Okay. At this point, I would like to say on

the record that you should listen to your counsel, and

especially if he instructs you not to answer the

question. But counsel is limited to making form

objections and not speaking objections. And so in order

to avoid any appearance of coaching the witness, which I

know counsel would never do, his form objections --

          MR. HUDSON: Well, I'll just go ahead and

stop you right there and say you're tossing out coaching

on the record. Nobody is coaching by giving form and

giving the description of what the objection is, which

I've been limiting to one word. We also have a standing

objection, our standing or running objection based on

privileges. And I would point out that some of your

questions are clearly targeted at getting at privileged

information, so I'm simply reminding the witness of the

stipulation that you made early on so that I wouldn't

give long objections based on privilege.

          If you want me to go ahead and start

making all formal objections because you're concerned

that I'm giving speaking objections, I'm happy to do
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     that. I'm just trying to make sure that my client isn't

     reaching out and expanding beyond the privilege

     stipulation that we've already made.

               MS. PERALES: You have your running

     stipulation, and we've agreed to that. I just want to

     make sure that the form objections are stated as

     succinctly as the rules hope we do.

        Q.   (By Ms. Perales) So let's go back to the

     voting machine scenario. Mr. White, you're familiar

     with your own voting machine that you use in the polling

     place in your home county. If we have a situation where

     there's a watcher and a voter, and an election judge,

     and the election judge has distanced the watcher from

     that machine and the activity of the voter at that

     machine, is it your testimony that -- that that is still

     not enough information upon which you could make a

     decision whether there is a violation of 4.09 of SB 1?

               MR. HUDSON: Objection, speculation.

     Incomplete hypothetical.

       A.    I think that's correct, that I wouldn't have

     enough information.
22      Q.   Could you explain to me how this new language
23   in 4.09(a) makes unlawful behavior that previously would
24   have been lawful?
25     A.    I would say the plain text that was added adds
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1      Q.   Understood. In your experience, does vote
2    harvesting occur in the context of paid campaign workers
3    or otherwise compensated individuals working on behalf
4    of a campaign?
5      A.   Generally, yes.
6      Q.   Have you ever encountered an instance of
7    improper voter assistance carried out by an individual
8    who is not working for a political campaign?
9      A.   If so, it would be quite rare.

       Q.   Have you ever encountered that instance?

       A.   Example -- an example or examples that come to

     mind would be subject to privilege for an ongoing

     investigation or prosecution, so I wouldn't want to talk

     specifically about them, but --

               MR. HUDSON: I'll make a formal objection

     based on that, to the extent it would encroach on

     attorney-client, work-product, investigative privilege,

     or any other stipulated objection, I would instruct you

     not to answer. But to the extent that you can go ahead

     and respond, please do so.

       A.   I think -- I think the answer would be

     possibly, yes, without getting into any detail.
23     Q.   Okay. So let me ask a question that might not
24   encroach on privilege. Have you ever yourself or your
25   office brought charges against an individual for
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1    unlawful voter assistance when that individual was not
2    working for a political campaign?
3      A.   And by "unlawful assistance," you mean a
4    violation of 64.036.
5      Q.   Or the other measures that we have discussed
6    before, 64.012, 276.013.
7      A.   I'm not sure. I'm not sure on those specific
8    statutes. But what I could tell you is that almost all
9    of the cases that we see that involve assistance fraud
10   involve individuals that we believed were associated
11   with campaigns or working directly for a candidate or a
12   slate of candidates, or were relatives of candidates or
13   the candidates themselves.

       Q.   Thank you. And so sitting here today, you

     cannot recall an instance in which your office has

     brought charges against an individual for violating

     either 64.036 or 64.012, or 276.013, when that defendant

     was not working for a candidate or campaign or slate of

     candidates, correct?

       A.   Or a relative of the candidate or the candidate

     themself?

       Q.   Right.

       A.   If you include those -- if you can give me one

     moment. I can --

               MR. HUDSON: For purposes of the record, I
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would point out that you were referencing -- would you

identify that by exhibit number?

           THE WITNESS: That's Exhibit 6, which is

the list of our pending -- includes a list of our

pending prosecutions.

  A.    I can think of -- I could think of one --

   Q.   Where you brought charges?

  A.    -- case where charges have been brought. There

could be more, but I don't have a recollection of them

at this time.

   Q.   Tell me about that one case.

  A.    I can't go into that case due to --

   Q.   If charges have been brought, wouldn't that be

a public record?

  A.    There's a pending prosecution.

   Q.   I see. Are there charging documents?

  A.    There are.

   Q.   Have they been filed?

  A.    They have.

   Q.   Where have they been filed?

  A.    In the district court where the case is

charged.

   Q.   What is that district court? If it's a public

record, I'm entitled to know about it.

           MR. HUDSON: If I could have just a minute
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to advise him on what he can and can't talk about. If

we can go off the record just a moment.

          (Brief recess.)

          MR. HUDSON: Mr. White, so I understand,

the case that you're referring to is on Exhibit --

          THE WITNESS: 6.

          MR. HUDSON: Exhibit 6. I'm instructing

you -- to the extent that there's anything in the public

record about the case, I'm instructing you to testify

about that. To the extent that there are details that

are part of ongoing investigative processes,

attorney-client privilege, attorney work product, or any

other applicable privileges, I'm instructing you not to

answer. But to the extent it's on the public record,

I'm instructing you to answer.

  A.   The case --

          MR. HUDSON: Let her ask her question.

  A.   Go ahead.

  Q.   (By Ms. Perales) I think we were out there,

the question was half answered. But I'll go ahead and

make a new question for you.

          MR. HUDSON: Sorry about that.

          THE WITNESS: Sure.

  Q.   Please describe for me the charges that you

mentioned a few minutes ago related to a particular
         Case 5:21-cv-00844-XR Document 747-12 Filed 09/01/23 Page 40 of 46




     defendant and the scenario that I was describing.

       A.   Okay. The case that came to mind does not

     actually involve ballot assistance, it involved voter

     registration, and so it may not be directly applicable

     to your -- your question, and I think it may not. It --

     what sparked my memory is that it did involve an offense

     under 276.013, but it was not under the influencing the

     voter subsection, so I don't think that it would be

     responsive, but I have been instructed that, if it were

     responsive, I would disclose to you --

               MR. HUDSON: Well, don't tell her what I

     instructed you.

               THE WITNESS: I'm sorry. I'm sorry.

               MR. HUDSON: That's on the record.

       A.   But if something is in the public record, I

     would make that available to you.
17     Q.   Yes. So is there a reference to that on the
18   Exhibit 6 somewhere?
19     A.   The case is one of our pending -- one of our
20   pending prosecutions.
21     Q.   And since charges have been filed, can you
22   point to me which page that pending prosecution is on in
23   the exhibit?
24     A.   It's -- well, it's -- again, it's not
25   responsive to the -- to the subject area that we were
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1      Q.    Thank you. Do you know who Omar Escobar is
2    from Starr County?
 3      A. I do.
 4      Q.   Would you consider him a friend?
 5      A. Consider him a former colleague.
 6      Q.   Because he's not the DA anymore, correct?
 7      A. Correct.
 8      Q.   Do you -- do you receive complaints about
9    public officials coercing votes from their employees
     unlawfully?

       A.    We would receive those.

                MR. HUDSON: I'll just remind you of the

     running stipulation. You can answer generally, but to

     the extent it encroaches on privileges, please bear that

     in mind.
16     Q.    (By Ms. Perales) Have you ever prosecuted a
17   public official for coercing votes from public
18   employees?
19     A.    Not that I can recall.
20     Q.    Are you aware of any public information
21   suggesting that Omar Escobar has coerced public
22   employees unlawfully with respect to their political
23   support or their votes?
24     A.    I'm not aware of any -- I'm not aware of any
25   public information to that effect.
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1                Mr. White, my name is Laura Rosenbaum. I
2    am one of the attorneys for the Mi Familia Vota
3    plaintiffs in this case. So nice to meet you. And I
4    know it's late in the afternoon. I won't take too much
5    of your time. And hopefully I won't be repeating
6    questions that have already been asked today. There
7    have been a little bit of issues with the Zoom
8    connection, but I just have a couple of topics that I
9    don't, don't think have been fully addressed. Can you
10   hear me okay?
11     A.   Yes, ma'am.
12     Q.      Okay. Thank you. Have you or has your office
13   been involved in any prosecutions for fraud that relate
14   to drive-through voting?
15     A.   No, ma'am.

       Q. Are you aware of any investigations into

     allegations of fraud that relate to drive-through

     voting?

                 MR. HUDSON: Object to the extent that it

     would call for attorney-client, attorney work-product or

     investigative privilege. If you can answer without

     encroaching on those, you're free to do so. Otherwise,

     I'm instructing you not to answer.

                 THE REPORTER: I'm sorry, you'll have to

     slow down. Work product or investigative privilege?
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               MR. HUDSON: To the extent you can answer

     without encroaching on any of those privileges, you're

     free to do so.

       A.    I'm not able to discuss any investigations

     that -- that are not public.
6       Q.   Are you aware of any complaints of voter fraud
7    that relate to drive-through voting?
8              MR. HUDSON: Same objection. Same
9    instruction.
10     A.    Same answer to the extent that those would have
11   sparked an investigation.
12      Q.   So you don't have access to complaints that
13   you've received, that your office has received that
14   relate to drive-through voting? Because if they were
15   received from the public -- from members of the public,
16   they would not be attorney-client privileged.
17             MR. HUDSON: Objection, argumentative.
18   Objection, same instruction. Same objections with
19   regard to privilege.
20      Q.   (By Ms. Rosenbaum) The question is, has your
21   office received any complaints from the public that
22   relate to allegations of fraud that involve
23   drive-through voting?
24             MR. HUDSON: Same objection. Same
25   instructions.
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 1

 2

 3

 4

 5

 6                I, JONATHAN S. WHITE, have read the
 7   foregoing deposition and hereby affix my signature that
 8   same is true and correct, except as noted above.
 9

10                   JONATHAN S. WHITE
11   STATE OF TEXAS         )
12   COUNTY OF TRAVIS )
13                Before me,                             , on this
14   the day personally appeared JONATHAN S. WHITE known to
15   me to be the person whose name is subscribed to the
16   foregoing instrument and acknowledge to me that they
17   executed the same for the purposes and consideration
18   therein expressed.
19                Given under my hand and seal of office
20   this        day of                            , 2022.
21

22

23
                     NOTARY PUBLIC IN AND FOR
24                   THE STATE OF
25
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 1           IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS
 2                SAN ANTONIO DIVISION
 3   LA UNION DEL PUEBLO         §
     ENTERO, ET AL.,         §
 4        Plaintiffs,   § Civil Action No.
                      § 5:21-cv-844 (XR)
 5   VS.                § (Consolidated Cases)
                      §
 6   STATE OF TEXAS, ET AL.     §
          Defendants.      §
 7   **************************************************
 8                   ORAL DEPOSITION OF
 9                  JONATHAN SHERMAN WHITE
10                    APRIL 27, 2022
11   ****************************************************
12          I, CAROLINE CHAPMAN, Certified Shorthand
13   Reporter in and for the State of Texas, hereby certify
14   to the following:
15         That the witness, JONATHAN S. WHITE was duly
16   sworn by the officer and that the transcript of the oral
17   deposition is a true record of the testimony given by
18   the witness;
19             That the deposition transcript was
20   submitted on May       , 2022 to the witness or to the
21   attorney for the witness for examination, signature, and
22   return to me within 20 days;
23             That the amount of time used by each party
24   at the deposition is as follows:
25             Honorable Dana Paikowsky - Three hours and
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 1   seventeen minutes.
 2              Honorable Nina Perales - Three hours and
 3   fifty-six minutes.
 4              Honorable Laura E. Rosenbaum - Six
 5   minutes.
 6              That pursuant to information given to the
 7   deposition officer at the time said testimony was taken,
 8   the appearance pages include all parties of record.
 9              I further certify that I am neither
10   counsel for, related to, nor employed by any of the
11   parties or attorneys in the action in which this
12   proceeding was taken, and further that I am not
13   financially or otherwise interested in the outcome of
14   the action.
15              Certified to by me on May 2, 2022.
16

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                    CAROLINE CHAPMAN, Texas CSR 467
18                  Expiration Date: 03/31/2023
                    Firm Registration No. 223
19                  WORLDWIDE COURT REPORTERS
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20                  Houston, Texas 77027
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